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IN TH.`E UNITED STATES DISTRICT COUR'.I!HJ~"D`€'-""\ 1111
FOR TI'IE WESTERN DISTRICT OF TENNESSEE

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W\ D F,`;-¥?-` “';*-~3 f-J€EMF’H|S
U'NITED STATES OF AMERICA,

Plaintiff,
CR. NO. 04-20035-Ma

VS.

ARTHUR MITCHELL ,

~_/~_/\_/`_/~__/\_¢~__/~__/‘__/

Defendant.

 

ORDER. ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 3l, 2005 at 2:00 p.m.

The period fronl March. 25, 2005 through. June l7, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of May, 2005.

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SAMUEL H. MAYS, JR.
U'NI'I‘ED STATES DISTRICT JUDGE

 

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with Rule 55 and/or 32(b) FRCrP on “' _)

 

ISTRICT COURT - WERSTE DISTRICT oF TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

